
60 So.3d 521 (2011)
Ludolfo MEDINA, Petitioner,
v.
FONTAINEBLEAU HILTON and FHM Ins. Co./United Self Insured, Respondents.
No. 1D11-0952.
District Court of Appeal of Florida, First District.
April 28, 2011.
Kimberly A. Hill of Kimberly A. Hill, P.L., Fort Lauderdale, for Petitioner.
Hinda Klein of Conroy, Simberg, Ganon, Krevans, Abel, Lurvey, Morrow &amp; Schefer, P.A., Hollywood, for Respondents.
PER CURIAM.
DENIED. See, e.g., Dep't of Revenue v. Groman, 46 So.3d 1058, 1060-61 (Fla. 1st DCA 2010); Taylor v. TGI Friday's, Inc., 16 So.3d 312, 313 (Fla. 1st DCA 2009); Dawson v. Clerk of Cir. Ct.-Hillsborough County, 991 So.2d 407, 411 (Fla. 1st DCA 2008).
BENTON, C.J., WEBSTER, and VAN NORTWICK, JJ., concur.
